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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:15CR343

       vs.
                                                                          ORDER
KENDELL TEALER,

                      Defendant.


       Defendant Kendell Tealer appeared before the court on January 31, 2018 and February 9,
2018 on a Petition for Warrant or Summons for Offender Under Supervision [570].              The
defendant was represented by CJA Panel Attorney Mary Gryva, and the United States was
represented by Assistant U.S. Attorney Nancy A. Sovobda. Through his counsel, the defendant
waived his right to a probable cause hearing on the Report pursuant to Fed. R. Crim. P.
32.1(a)(1). The government moved for detention. Through counsel, the defendant declined to
present any evidence on the issue of detention and otherwise waived a detention hearing. Since it
is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence
that he is neither a danger to the community nor a flight risk, the court finds the defendant has
failed to carry his burden and that he should be detained pending a dispositional hearing before
Senior Judge Bataillon.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Bataillon.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on March 13, 2018 at 1:30 p.m. Defendant must be present in person.
       2.      The defendant, Kendell Tealer, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
       3.      The defendant shall be afforded a reasonable opportunity for private consultation
with defense counsel; and
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       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.


       Dated this 9th day of February, 2018.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge




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